Case 1: 04- -C\/- -01184- .]DT- STA Document 22 Filed 05/03/05 Page 1 of 2 P@%DA) 24

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IN THE UNITED STATES DISTRlCT COURT }' 3 05
FOR THE WESTERN DISTRICT OF TENNESSEY;A § b ’°»95_ '
EASTERN DIVISION >/“;/;,<~0~’ 'OJ
DARNICE COX, /P‘/`L/~<’c %§Q;”
/Z/
Plaintiff,
vS. No. 04-1 134-r
MAYTAG JACKSON DISHWASHING
PRODUCTS,
Defendant.

ORDER OF REFERENCE

The Motion to Continue Trial and to Enter a New Scheduling Order in this action is

hereby referred to United States Magistrate Judge Thornas Anderson.

@WMAM

JAM D. TODD
ED STATES DISTRICT .TUDGE

9£'05

IT IS SO ORDERED.

DATE

Thls document entered on the docket sheet in co pliance
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Christoper H. Steger
1\/1[LLER & MARTIN LLP
832 Georgia Ave.

Ste. 1000

Chattanooga, TN 37402--228

Michael L. Weinman
WEINMAN & ASSOCIATES
114 S. Liberty St.

Jackson7 TN 3 8302

Honorable J ames Todd
US DISTRICT COURT

